Case 2:20-cv-12470-MCA-MAH Document 231 Filed 06/06/23 Page 1 of 1 PageID: 5989




                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY
                          MINUTES OF PROCEEDINGS


 NEWARK
                                                                  Date: 6/6/23
 JUDGE: Madeline Cox Arleo

 COURT REPORTER: Sara Killian

 DEPUTY CLERK: Amy Andersonn

 Title of Case:                                                Docket No. 20-cv-12470(MCA)

 ALKERMES, INC. V. TEVA PHARMACEUTICAL INDUSTRIES USA, INC.

 Appearances:         Charles Lizza, Sarah Sullivan, Bruce Wexler, Isaac Ashkenazi, Sara
                      Spencer for plaintiffs Alkermes, Inc., et al.

                      Liza Walsh, Jessica Formichella, JC Rozendaal, Uma Everett, for
                      defendants Teva Pharmaceutical Industries USA, Inc.


 Nature of proceedings: BENCH TRIAL

 Closing arguments held on the record.


 Time Commenced 2:05 p.m.
 Time Adjourned 4:30 p.m.


                                                       Amy Andersonn
                                                       Amy Andersonn, Deputy Clerk
